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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                              WESTERN DIVISION


 UNITED STATES OF AMERICA,                              CR 20-50095
       Plaintiff,
                                                MOTION FOR PRELIMINARY
 v.                                              ORDER OF FORFEITURE
 CODY WAYNE HOPKINS,

              Defendant.


      The United States of America, by its undersigned counsel, respectfully

submits its Motion for Preliminary Order of Forfeiture in the above-entitled case.

The motion is being made for the reasons set forth below:

      1.     On August 20, 2020, a federal grand jury sitting in the District of

South Dakota returned an Indictment against the Defendant. The Indictment

charged the defendant with attempted enticement of a minor using the internet,

in violation of 18 U.S.C. § 2422(b). The Indictment also contained a forfeiture

allegation, requesting forfeiture of one Google cellular telephone, Verizon SIM

and ICCID 89148000004442173723 (hereinafter “the property”).

      2.     On August 25, 2022, the Defendant was found guilty of attempted

enticement of a minor using the internet. The Defendant agreed to forfeiture of

the property if found guilty at trial.

      3.     The property at issue in the forfeiture was involved in the

commission of 18 U.S.C. § 2422(b). Plaintiff seeks this Preliminary Order of

Forfeiture to provide notice of the forfeiture to any other interested parties.
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      4.     Based upon the evidence set forth in the jury trial, the United States

has established the requisite nexus between the property and the offenses to

which the Defendant was found guilty.

      5.     Upon the issuance of a Preliminary Order of Forfeiture, the United

States will publish notice of this order, notice of the Homeland Security

Investigations’ intent to dispose of the property in such manner as the Attorney

General may direct and notice that any person, other than the Defendant having

or claiming a legal interest in the property must file a petition with the court (and

serve a copy on Assistant United States Attorney Connie Larson, P.O. Box 2638,

Sioux Falls, SD 57101) within thirty (30) days of the final publication of notice

or of receipt of actual notice, whichever is earlier. The United States shall give

notice to the unknown potential claimants via the official Internet government

forfeiture website for thirty consecutive days pursuant to Rule G(4)(a)(iv)(C) of

the supplemental Rules for Admiralty and Maritime Cases.

      This notice shall state that the petition shall be for a hearing to adjudicate

the validity of the petitioner’s alleged interest in the property, shall be signed by

the petitioner under penalty of perjury and shall set forth the nature and extent

of the petitioner’s right, title or interest in the property and any additional facts

supporting the petitioner’s claim and the relief sought. The United States may

also, to the extent practicable, provide direct written notice to any person known

to have alleged an interest in the property that is the subject of the Preliminary

Order of Forfeiture, as a substitute for published notice as to those persons so

notified.



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      WHEREFORE, the United States respectfully requests that this court enter

a Preliminary Order Forfeiting to the United States the property described in the

Indictment, and order the Homeland Security Investigations to seize and

maintain custody of the forfeited property and dispose of it in accordance with

the law.

      Date: August 30, 2022.

                                     ALISON J. RAMSDELL
                                     United States Attorney


                                         /s/ CONNIE LARSON
                                     Connie Larson
                                     Assistant United States Attorney
                                     P.O. Box 2638
                                     Sioux Falls, SD 57101-2638
                                     Telephone: (605)357-2362
                                     Facsimile: (605)330-4410
                                     E-Mail: connie.larson@usdoj.gov




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